faX   from         bO:J   ‘*J’f                                             U.L1.LtJ   UY.’td     rj.
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                                     UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW JERSEY

         urnD STATES OF AMERICA                            Hon. Dickinson R. Debevoise

                      v.                                   Crim    No.   09-S8   (DRD)


         RASHAWN BILLUPS                               :   CONTINUANCE ORDER
            /k7a ‘Rasflawn Bond,”
            a/k/a “Shawny”


                          This matter having come before the Court on the joint

         application of Paul J.           Fishman,    United States Attorney for the

         District of Ne Jersey            (Lisa M.    Colone, Assistant US. Attorney,

                                                                     (Roy Greenman,      Esq,
         appetring)         and defendant Rashawn Billups
                                                                            dings
         appearing)        for an order granting a continuance of the procee

                                                    cf                       days,     and the
         in the above-captioned matter for a period

                                                        have the tnatter
         defendant being aware that he has the right to
                                                            hi appearance
             brought to trial within 70 days of the date of
                                                           nt to Title 18 of
             before a judicial officer of this court pursua

             the United States Code.       Section 31l(c) (1).           and as the defendant

                                                                   sufficient
             has consented to such a Continuance, and for good and

             cause shown.

                          IT IS THE FINDING OF THIS COURT that this action should

             be continued for the following reasons:

                          1.      Plea negotiations are currently in progress,              and

             both the United States and the defendant. de5ire additional time

             to Iinalize a plea agreement, which wouldrender trial of this

             matter unnecessary.
                                                           __
                                                      _____




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                      2.          Defendant has consented to the aforementioned

       continuance;

                          3.      Pursuant to Title 18 of the United States Code,

       Section 311(h) (B),              the ends of justice served by granting the

                                                                 the
       conLinuance outweigh the best interests of the public and

       defendant in a speedy trial

                          WHEREFORE,        on this               day of Septem
                                                                         1      ber 2010,

                          IT XS ORDERED that this action be,               and hereby is

       continued for a period of 60 days; and it is further

                          ORDERED that the period from and including September

       21,    2010,       .hrough and including November 21,               2010,   shall be

                                                              of 1974,
       exc1udb1e in computing time under the Speedy Trial Act

       pruant to Titae 1, United States Code,                           Section 3161(h) (8); and

       it. is further

                          ORDERED that the calendar for this matter shall be

       rcvied a foi1Ows

                                                          Motions hearing

                                                              Trial; Ties., November 16,        2010




                                                          TJ 7
                                                              HON. DICKINSON R. DEBEVOISE
                                                              United States District Judge




           Roy G    nman, Esq           -




           Couns el for Rashawri Billups




                                                                                                   TOTRL P.83
